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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                   §
     Plaintiff/Respondent,                  §
                                            §
V.                                          §          CR. No. C-03-258(3)
                                            §          C.A. No. C-05-473
JOSE ANGEL CHAMPION,                        §
     Defendant/Movant.                             §

                                FINAL JUDGMENT

      The Court enters final judgment denying defendant Jose Angel Champion’s

motion to vacate, set aside or correct sentence under 28 U.S.C. § 2255.



      ORDERED this 6th day of May 2006.




                                      ____________________________________
                                                 HAYDEN HEAD
                                                   CHIEF JUDGE
